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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

                                                                   Civil Action number:
William O. Evans, Jr., as Trustee for the
Heirs and Next-of-Kin for Benjamin Evans,                          EXHIBIT INDEX

Plaintiff

vs.

Brian Jeffery Krook, individually and in his official capacity
as a Deputy for Washington County Sheriff’s Office;

Michelle Folendorf, individually and in her official capacity
as a Sergeant for Washington County Sheriff’s Office;

Joshua John Ramirez, individually and in his official capacity
as a Deputy for Washington County Sheriff’s Office;

Michael Ramos, individually and in his official capacity
as a Deputy for Washington County Sheriff’s Office;

Dan Starry, individually and in his official capacity as
Washington County Sheriff and policymaker;

Washington County as a political subdivision of the State
of Minnesota.

Defendants

Exhibit A:

Excerpts from State of MN v. Brian Jeffery Krook, Transcript of Grand Jury Proceedings

Exhibit B:

Excerpts from State of MN v. Brian Jeffery Krook Transcript of Proceedings- Jury Trial
